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                        UNITED STATES DISTRICT COURT
                       CENTRAL DISTRICT OF CALIFORNIA

                            CIVIL MINUTES – GENERAL

Case No. 2:23-cv-07850-JLS-E                                    Date: March 21, 2025
Title: Calumpad Balabis v. Elaine Angelica Linga et al

Present: Honorable JOSEPHINE L. STATON, UNITED STATES DISTRICT JUDGE

             Kelly Davis                                          N/A
             Deputy Clerk                                    Court Reporter

      Attorneys Present for Plaintiffs:               Attorneys Present for Defendant:

              Not Present                                      Not Present

PROCEEDINGS: (IN CHAMBERS) ORDER STRIKING NOTICE OF
             APPEARANCE OR WITHDRAWAL OF COUNSEL (Doc. 37)
             AND ORDERING COUNSEL TO APPEAR AT FINAL
             PRETRIAL CONFERENCE

       On March 20, 2025, Defendant’s Counsel Joseph Curtis Edmondson filed a
“Notice of Appearance or Withdrawal of Counsel” seeking to withdraw as counsel in this
case. (Doc. 37.) Edmondson represents that “at least one member of the firm or agency
named above, and at least one member of the Bar of this Court, will continue to serve as
counsel of record for the party or parties indicated,” yet elsewhere states in the same
Notice that Defendant Elaine Angelica Linga will proceed pro se. (Id.) Pursuant to
Local Rule 83-2.3.2, “[a]n attorney may not withdraw as counsel except by leave of
court.” C.D. Cal. L.R. 83-2.3.2. Any motion for leave to withdraw “must be supported
by good cause.” Id. On March 19, 2025, Edmondson filed a “Request for Approval of
Substitution or Withdrawal of Counsel[;]” however; that Request remains pending before
the Court. (See Doc. 34.) Because Edmondson has not yet obtained leave of Court to
withdraw as counsel in this case, and because Edmondson’s representations as to who




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                        UNITED STATES DISTRICT COURT
                       CENTRAL DISTRICT OF CALIFORNIA

                            CIVIL MINUTES – GENERAL

Case No. 2:23-cv-07850-JLS-E                                      Date: March 21, 2025
Title: Calumpad Balabis v. Elaine Angelica Linga et al
will continue to serve as counsel of record for Defendant are inconsistent, the Court
STRIKES Edmondson’s Notice.
       Defendant’s counsel is ordered to appear at the Final Pretrial Conference in this
case, set for March 28, 2025 at 10:30 a.m.
                                                               Initials of Deputy Clerk: kd




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